Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 1 of 25 PageID 3520




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

                                CASE NO. 3:19-cr-00001-TJC-PDB

 UNITED STATES OF AMERICA,

 v.

 JOHN R. NETTLETON,
       Defendant.
 ______________________________/

      JOHN R. NETTLETON’S SENTENCING MEMORANDUM AND MOTION FOR
                          DOWNWARD VARIANCE
        Defendant JOHN R. NETTLETON, by and through below counsel, files this Sentencing

 Memorandum and Motion for Downward Variance, in advance of his October 8, 2020, sentencing

 hearing, requesting this Court to impose a lesser sentence that the advisory guidelines range, and

 states the following in support:

                                      I.     INTRODUCTION

        John R. Nettleton is before this Court for sentencing to face the consequences for the

 absolute worst decisions he has ever made. One thing that is clear from the many letters submitted

 in support of Mr. Nettleton is that the actions which have brought him before this Court are in no

 way representative of the person he truly is. Mr. Nettleton has genuinely dedicated himself to his

 family and his country, and he has made a positive and lasting impact on so many people

 throughout his life. This Court is now tasked with sentencing a man who not only has contributed

 greatly to his community for decades, but a man who surely will continue to do so throughout the

 remainder of his life.

        This Court has already sat through the trial in this matter, and so this memorandum will

 not rehash in any great detail the circumstances surrounding Mr. Nettleton’s convictions. Instead,


                                                 1
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 2 of 25 PageID 3521




 this memorandum, which relies largely on direct quotes from Mr. Nettleton’s family, friends, and

 peers who know him best, will focus on showing this Court the true John Nettleton. As anybody

 who knows Mr. Nettleton well will attest, he is a truly good man who made some terrible,

 uncharacteristically poor choices that have brought him here today.

        We simply ask for this Court to take into consideration Mr. Nettleton’s entire life, rather

 than merely the mistakes that he made over a brief period of time in and around January 2015,

 more than five years ago. As Judge Jed Rakoff has aptly written:

        But, surely, if ever a man is to receive credit for the good he has done, and his
        immediate misconduct assessed in the context of his overall life hitherto, it should
        be at the moment of his sentencing, when his very future hangs in the balance. This
        elementary principle of weighing the good with the bad, which is basic to all the
        great religions, moral philosophies, and systems of justice, was plainly part of what
        Congress had in mind when it directed courts to consider, as a necessary sentencing
        factor, “the history and characteristics of the defendant.”

 United States v. Adelson, 441 F. Supp. 2d 506, 513–14 (S.D.N.Y. 2006), aff'd, 301 F. App'x 93

 (2d Cir. 2008).

        For the many reasons stated herein, we ask this Court to vary significantly downward from

 the advisory guidelines range to a sentence that will justly punish Mr. Nettleton, yet allow him to

 move on to the next chapter in his life so he can continue to improve the lives of his family and

 friends as he has done for so many years.

      II.     JOHN NETTLETON’S PERSONAL CHARACTERISTICS AND HISTORY
                     STRONGLY SUPPORT A DOWNWARD VARIANCE

    a. John Nettleton’s Personal Characteristics
        Throughout his life, Mr. Nettleton has time and time again demonstrated the kind of

 personal characteristics that show him to be a good and decent person, and a positive influence on

 others. As the numerous letters written by people close to him demonstrate, Mr. Nettleton is the

 type of person who goes out of his way to make things better for the people around him, and to


                                                 2
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 3 of 25 PageID 3522




 take care of his family, friends, and fellow service members. As his father states, “From his early

 childhood he has had a helpful attitude and a desire to protect others from harm.” (Letter from

 Robert Nettleton).

        To give one example of Mr. Nettleton’s concern for the people around him, Robert Kiem,

 who has known Mr. Nettleton for 20 years, states that

        CAPT Nettleton is one of the most caring and loyal friends to my father and to my
        family as well. During massive wildfires in San Diego during the early 2000’s he
        opened his house to my family so that we would have a safe place to evacuate. He
        never hesitated to let us into his home even though he already had three young
        children and a dog or two. He did not care that my family of five had two cats, a
        rabbit, and a guinea pig. While we were staying at his family’s home, he went out
        in the middle of the night in dangerous conditions to make sure that our house did
        not burn down in the wildfires. He was never prompted by any one in my family to
        do this or even ask us to accompany him, he went on his own accord because he
        cared so greatly about others than himself.

 (Letter from Robert Kiem). This is not an isolated opinion; nearly everybody who knows Mr.

 Nettleton well can tell you about his selflessness and how much he cares about other people.

 Another friend writes:

        Judge Corrigan, I must truthfully admit it is my experience that John is one of the
        finest individuals I have ever known. I say this in spite of his current situation and
        no matter what his future may hold. He is a courageous man and a kind and loyal
        friend. One second, he can be brutally honest with you but in a way that will make
        you laugh and doesn’t hurt. The next second he is sympathetic, caring and doing
        anything he can to help you overcome your problem. It is my experience that he
        just naturally would do this for anybody. I’ve seen it many times.

 (Letter from Thomas Ogden Ellis).

        Likewise, Mr. Nettleton’s ex-wife, Leslee Stafford Stateler, who has every reason in the

 world to begrudge Mr. Nettleton for his actions which ultimately led to the dissolution of their

 marriage, writes that

        John is kind, one of the kindest people I have ever known. Every year he always
        included single sailors and sailors that couldn’t be with their families for holiday
        events such as Thanksgiving. My children grew up thinking that this was absolutely

                                                  3
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 4 of 25 PageID 3523




        normal. It’s not that common in our communities where everyone always seems so
        busy. I think it takes a selfless person to have empathy and to include everyone. We
        always made room. No matter the number, the more the merrier, John always
        believed that. John has always gone the extra mile for people, I’ve seen him arrange
        to have sailor’s cars fixed with his own money because he believed in people and
        treated the people that worked for him with respect and never like he was better
        than them.

 (Letter from Leslee Stafford Stateler).

        Mr. Nettleton has throughout the course of his life demonstrated a sense of fundamental

 decency for people who need a little help in their lives. Mr. Nettleton’s cousin explains the impact

 Mr. Nettleton had on her during her long battle with breast cancer:

        Through these 18 difficult years, his support towards not only me, but to Tommy
        and our girls is something I will never forget. He would run errands for me, pick
        the kids up from school and take them for ice cream and even cook our family
        dinner. He’ll never know how valuable those visits were to our family but we will
        never forget and still reminisce on his impact here

 (Letter from Sylvia Ellis).

        These are just a few of the glowing assessments of Mr. Nettleton’s character that are

 contained in the letters that are being submitted to the Court for consideration. A defendant’s

 personal “history and characteristics” should be considered right along with “the nature and

 circumstances of the offense.” 18 U.S.C. 3553(a)(1). But a defendant’s history and characteristics

 are in no way reflected in the guidelines calculation. As the Supreme Court has explained, “The

 Commission has not developed any standards or recommendations that affect sentencing ranges

 for many individual characteristics.” Rita v. United States, 551 U.S. 338, 364 (2007). Accordingly,

 factors such as a person’s history of good deeds, or a defendant’s military, civic, or public service

 “are not ordinarily considered under the Guidelines.” Id. at 364-65. “These are, however, matters

 that § 3553(a) authorizes the sentencing judge to consider.” Id. at 365.




                                                  4
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 5 of 25 PageID 3524




        Thus, post-Booker, there is no doubt that a defendant’s personal history and characteristics

 can support a significant downward variance from the guidelines range. See, e.g., United States v.

 Wachowiak, 496 F.3d 744, 745 (7th Cir. 2007), abrogated on other grounds by Nelson v. United

 States, 555 U.S. 350 (2009) (affirming downward variance of more than 50 months from the

 bottom of the guidelines where the district court’s sentence was based, in part, on the defendant’s

 excellent character, low risk for recidivism, and strong family support). Therefore, we ask this

 Court to balance the guidelines calculation against the many non-guidelines factors discussed

 herein, such as Mr. Nettleton’s lifetime of demonstrating a good moral character, that warrant a

 lesser sentence. In this memorandum, we provide the Court with merely a glimpse of Mr.

 Nettleton’s character. In addition to his characteristics and life history discussed herein, the two-

 dozen or so letters submitted on his behalf make clear that an approximately 3-year prison

 sentence, as recommended by the low-end of the guidelines, is substantially greater than necessary.

    b. John Nettleton’s Family
        Many defendants facing sentencing have a personal story to tell, a family that loves them,

 and children that will be negatively impacted by the sentence. And Mr. Nettleton will be the first

 to tell you that this is something that he should have recognized and taken into consideration back

 in January 2015. In this sense, Mr. Nettleton is no different than any number of persons who have

 come before this Court. Nonetheless, it is important to understand that despite his unfortunate

 conduct, Mr. Nettleton remains indisputably a caring and loving father to his three children. One

 of his greatest regrets, unsurprisingly, is the deleterious effect his mistakes have had on his

 daughter and sons, and on their mother.

        It is no secret at this point that Mr. Nettleton’s 25-year marriage to Leslee Stafford Stateler

 was destroyed because of his infidelity. Under such circumstances, it would only make sense that

 Mrs. Stateler’s family would feel nothing but contempt and anger for Mr. Nettleton. In fact, it

                                                  5
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 6 of 25 PageID 3525




 would be quite difficult to fault them for feeling that way. But contrary to such expectations, the

 letters from Mrs. Stateler’s family actually show that, despite the harm he has caused his ex-wife,

 Mr. Nettleton is still regarded as a wonderful father and supporter of his children, and a necessary

 part of their lives.

         Jeff Stafford, Mrs. Stateler’s brother, states that “I’ve known John personally for decades.

 As a family man I considered him a shining example of what an engaged father should be.” (Letter

 from Jeff Stafford). Another of Mrs. Stateler’s brothers, Nickolas Stafford, writes that “I will

 always consider John Nettleton to be one of the most caring and devoted fathers I’ve ever known.”

 (Letter from Nickolas Stafford).

         Mr. Nettleton’s former father-in-law states that Mr. Nettleton impressed him through his

 interactions with his military staff and crew which “showed professional military conduct and a

 sincere respect and comradery.” But “John if possible impressed me even more by always showing

 extreme love and devotion for both my daughter and grandchildren. Regardless of his posting,

 John and my daughter provided a loving home environment.” (Letter from Larry Stafford).

         And Mrs. Stateler explains that, because she lives outside of Florida, “I greatly depend on

 John to be able to help our children when any crisis may arise. John has always been available to

 our children and he is a huge part of all of their lives.” (Letter from Leslee Stafford Stateler).

         It is clear that Mrs. Stateler and her family still continue to hold Mr. Nettleton in the highest

 regard, despite his indiscretions that have caused so much pain and discomfort for Mrs. Stateler.

 Nicholas Stafford goes so far as to state that

         John is a solid citizen and aside from this single, horrible situation that spiraled out
         of control so quickly it was beyond his ability to diffuse, he has led a most
         admirable life. His 30 years of exemplary service to our country should also be
         taken into consideration.




                                                    6
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 7 of 25 PageID 3526




        If I could, I would volunteer myself to serve whatever sentence he is given to allow
        him the freedom to continue being the man and father that I will always have the
        utmost respect for.

 (Letter from Nickolas Stafford).

        In this section we’ve highlighted only the statements from Mr. Nettleton’s former in-laws

 because, as mentioned above, these are people whom one would normally expect to express enmity

 and ire - with good reason - toward Mr. Nettleton. But even Mrs. Stateler and her family, despite

 the grief that Mr. Nettleton’s actions have caused them, still recognize that despite his terrible

 mistakes and poor judgment, Mr. Nettleton is still a good man and a good father worthy of

 redemption for his errors.

    c. John Nettleton’s Three Decades of Service in the United States Military
        Mr. Nettleton joined the U.S. Marine Corps Forces Reserve when he was 19 years old and

 served in the infantry and as an anti-tank missile man from 1984 – 1987. Then in 1987, he entered

 the Naval Aviation Cadet Program. He went to two years of flight school, and he got his wings

 and was commissioned as an officer in 1989. At that time, he was transferred to Jacksonville and

 joined a fleet squadron.

        Mr. Nettleton was deployed to the Middle East and flew helicopter combat missions in the

 First Gulf War, as well as anti-mine and search and rescue missions. After the war, he returned to

 Jacksonville, and then deployed again in 1992 to the Mediterranean Sea for six months. Upon his

 return to Jacksonville he became an instructor pilot. In 1995, he became a navigation officer on

 the USS Inchon.

        In 1997, Mr. Nettleton went to Washington, D.C., and worked in the Pentagon as a Chief

 of Naval Operations briefer and was part of the anti-terrorism task force. In 1999, he came back to

 Jacksonville as a department head for HS 11 (Helicopter Anti-Submarine Warfare Squadron).



                                                 7
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 8 of 25 PageID 3527




 After the attacks of September 11, 2001 (where many of the people he served with and befriended

 at the Pentagon were killed), he was deployed to the Middle East for combat operations.

        In 2002, he went to San Diego as the Executive Officer (XO) of HS 10 (a training

 squadron). In 2005, he returned to Jacksonville as the XO of HS 11, and then the Commanding

 Officer (CO) in 2006. During his time as CO, he was deployed on the USS Enterprise and again

 served in the Middle East, including off-carrier in Basra, Iraq, at the height of the insurgency there.

        In 2007, Mr. Nettleton went to the National War College and in 2008 earned his master’s

 degree. In 2008, he was selected as the CO of HS 10 and returned to San Diego. In 2010, he became

 the safety officer for Commander, Naval Air Forces and was responsible for the safety programs

 for 11 aircraft carriers and 200,000 personnel. In 2012, he was selected for major command and

 went to Guantanamo Bay and became the CO of the Naval base.

        Mr. Nettleton served his country honorably for three decades, including in multiple combat

 missions in the Middle East. He was a decorated officer, and was awarded three Air Medals (which

 are given for heroism or meritorious achievement while participating in aerial flight) for his

 extensive role in combat operations.

        Although Mr. Nettleton surely had other paths he could have taken when he finished high

 school, he chose to join the military. Jim Hogg, a friend of Mr. Nettleton’s for 50 years, explains

 why Mr. Nettleton made the decision to serve:

        John Nettleton is someone everyone looked up [to], someone everyone admired,
        someone that everyone was surprised went into the military as his academics
        proved he could do anything he wanted in business, but as the years went by
        everyone understood he joined the military to fight for his country to stand up for
        what he believed in and [to] protect me and everyone in the United States. John
        truly cares about everyone and would do anything to help anyone.

 (Letter from Jim Hogg).




                                                   8
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 9 of 25 PageID 3528




        Mr. Nettleton’s attitude toward service and his conduct as a member of the armed forces,

 even early on when he had just joined the Navy, were an inspiration to many people who served

 with him. Joe Evans, who attended the Navy’s Aviation Officer Candidate School at Pensacola

 with Mr. Nettleton in 1987, writes:

        Of those classmates, JR is the singular one that inspired me when I wanted to give
        up, that give me a hand when I was down, and who showed me how to lead when
        others were only looking out for themselves. When I look back on my life, I see
        several key pivotal moments in time. JR was at the crux of one of those points. I
        suspect that any success that I have had since, I owe in no small way to him and his
        resolute strength of character.

 (Letter from Joe Evans).

        As Mr. Nettleton rose through the ranks of the Navy in the following years, his leadership

 was a model for so many people he served with:

        For the two years I had the honor to serve with John, I can honestly say that he was
        an Outstanding and Superb Naval Officer and a better Human Being. He exhibited
        an uncanny and unselfish attitude and was a big supporter of the GTMO
        community. A true gentleman, well respected by the entire GTMO community.

        [ ] John’s character, leadership, and attitude are nothing short of “Outstanding.” He
        is a man of integrity and courage. I have served with many Commanding Officers
        while in the Navy and I consider John one of the best if not the best Captains that I
        have had the privilege to serve with. Additionally, a family man who sacrificed
        many years to provide and support his family and to defend our country and protect
        our freedom. I can honestly say that John will do anything and everything to help
        any Sailor.

        …

        I would never write a letter of support to anyone unless I really and truly believe
        that the person deserves it. John is an exception. He is one of the greatest human
        beings and leader that I have had the pleasure to know.

 (Letter from Jose A. Cabret).

        Edward J. D’Angelo, who was stationed with Mr. Nettleton at Naval Air Station

 Jacksonville, notes of Mr. Nettleton:



                                                 9
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 10 of 25 PageID 3529




        I observed him on a daily basis for a total of about three years while we were in the
        same units. I always admired the way he handled his duties because he was an
        officer who was able to relate very well with his subordinates, as well as with peers
        and senior officers. I flew with him several times and trusted him implicitly. John
        was well liked in each squadron because he displayed impressive competence,
        while also possessing a friendly personality that put others at ease.

 (Letter from Edward J. D’ Angelo).

        Julius McManus also writes admirably of Mr. Nettleton’s leadership style toward those

 who served below him:

        He was an influential leader who demonstrated reflective leadership. During one
        particular instance when we had a Sailor who had made some errors that could be
        considered for NJP [Non Judicial Punishment], Captain Nettleton considered the
        factors that influenced the Sailors error. As a result of this, Captain Nettleton did
        not NJP the Sailor, but rather assigned an Extra Military Instruction that provided
        a valuable life lesson for the Sailor and aided the Guantanamo Bay communality.

 (Letter from Julius McManus).

        Gregory Nosal, who was one of Mr. Nettleton’s superior officers, personally observed Mr.

 Nettleton while the latter was XO and CO of HS-11 in Jacksonville:

        As the commanding officer of HS-11 [Helicopter Sea Combat Squadron 11] he was
        loved and highly respected by his officers, sailors, and fellow commanding officers.
        As a naval aviator, he was without peer. Not being a helicopter pilot, I learned to
        trust John as my go-to person to enhance my knowledge and experience within the
        helicopter community. His professional competence and leadership were
        recognized by the Navy resulting in his selection for command of the largest
        helicopter training squadron in the Navy and eventually command of a naval
        station.

        [ ] John Nettleton is an excellent teacher and his leadership and tutorship was
        evident throughout his commands. He treated everyone fairly and equally.

 (Letter from Rear Admiral (ret.) Gregory M. Nosal).

        Mr. Nettleton’s mother notes how during her visits to military bases where her son was

 stationed, she “observed how he was admired by his peers. I heard stories of great admiration and




                                                 10
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 11 of 25 PageID 3530




 support for John. I was often told by Navy personnel how much they appreciated serving with and

 for John. He was a respected comrade and leader.” (Letter from Sue Condermann).

        Moreover, Mr. Nettleton’s admirable conduct extended not only toward fellow service

 members, but also to civilians whom he encountered during his course of service. Jana Aguilar,

 who first met Mr. Nettleton when she was in California with her husband (who was stationed there

 with the Navy) beginning in the fall of 2008, describes the role that Mr. Nettleton played in helping

 her get through her husband’s deployment:

        I was a brand new Navy wife and I knew nothing about the culture. Because he
        deployed twice in one tour, my new husband was absent more than present for the
        three years that he was stationed at Naval Air Station North Island.

        My husband asked John and Leslee to look after me, while he was away and John
        made good on his promise.

        The Nettleton family took me in during this time and included me in ways that I
        can never repay.

        …

        Had it not been for John Nettleton–his friendliness, honesty, humor and generosity
        towards me – I honestly do not think that I would have made it, [through] those first
        few years, that first Navy tour.

        Speaking to John’s character, I would say that the man never had to follow through
        with his promise to my husband that he’d look after me, and yet he did, going far
        past any realistic expectation.

 (Letter from Jana Aguilar).

        DeAnna Shaw-Berget, who taught at the elementary and high school at the Guantanamo

 Bay Naval Base while Mr. Nettleton was CO there, states:

        I always found Captain Nettleton to be a very friendly and gregarious CO. He is the
        only CO in my time at W.T. Sampson [school at Guantanamo Bay] to make an
        effort to attend all school functions (when his schedule allowed) including quarterly
        awards ceremonies at both the elementary and high school. He knew most of the
        high school students by name as he and his wife would host the students at their
        home. My impression at the time was that he was very dedicated to his family.

                                                  11
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 12 of 25 PageID 3531




        As a CO he was very approachable to base residents. When my son missed a flight
        to the island at Christmastime, Captain Nettleton offered suggestions for how he
        could catch another flight and personally took me to the ferry in time to meet my
        son. My family holds him in very high regard.

 (Letter from DeAnna Shaw-Berget).

        A very similar sentiment is echoed by Michelle Robarge, who also met Mr. Nettleton

 during his time at Guantanamo Bay:

        I first met John when he visited our school. It was obvious from the first moment I
        met him that he was genuinely interesting in finding out how he could help our staff
        and students. He began by listening to our team and finding out what our concerns
        were and what students needed. It was clear he understood the challenges in this
        remote location. It was a common thing for him to stop in and listen to what was
        being taught and he would never miss a chance to spend time with students. It was
        obvious it was not a political act, but one that was done from his love for those who
        served and a concern for ensuring their families and children were appreciated.
        Leading by example, he volunteered his time to assist with school events and was
        always willing to lend a helping hand.

 (Letter from Michelle Robarge).
        Colin Caswell, who served as Executive Officer at Guantanamo Naval Station and worked

 with Mr. Nettleton on a daily basis, writes that

        Captain Nettleton often reminded me of our responsibilities to residents who he
        called “our neighbors”, and importance of leaving behind a positive legacy. Mission
        accomplishment and continuous improvement were important, but never at the
        expense of quality of life for all base residents.

 (Letter from Colin Michael Caswell).
        The letters from people who have known Mr. Nettleton through his military service make

 it abundantly clear that he was an exemplary, honorable, and dedicated peer and leader who helped

 and inspired numerous people across the country, both servicemembers and civilians alike.

        Courts have not hesitated to recognize that a defendant’s military career is one factor

 supporting a downward variance. For example, in United States v. Howe, 543 F.3d 128 (3d Cir.

 2008), the court affirmed a sentence of probation with three months home confinement where the

                                                    12
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 13 of 25 PageID 3532




 guidelines range was 18-24 months. The district court’s sentence was based in part on the

 defendant’s 20 years of service in the Air Force. The Third Circuit pointed out that

        the Supreme Court included military service as a reason to affirm the district court's
        below-Guidelines sentence in Kimbrough v. United States, --- U.S. ----, 128 S.Ct.
        558, 575, 169 L.Ed.2d 481 (2007) (“he had served in combat during Operation
        Desert Storm and received an honorable discharge from the Marine Corps, and that
        he had a steady history of employment”).

 Id. at 139; see also United States v. Chase, 560 F.3d 828 (8th Cir. 2009) (noting that the

 defendant’s prior military service “would warrant a downward variance without running afoul of

 the statutory factors under § 3553(a)”).

                             III.    NO PRIOR CRIMINAL OFFENSES

        For nearly five decades, Mr. Nettleton has lived an honest, law-abiding, and highly

 admirable life. He has been an upstanding citizen who dedicated 34 years of his life to serving his

 country. First, he served three years in the Marine Corps reserves, and the remainder of his service

 time in the Navy. Mr. Nettleton’s conduct in this case is unquestionably a blemish in an otherwise

 upstanding and exemplary life.

        This Court certainly may look to Mr. Nettleton’s lack of any criminal history whatsoever

 as supporting a downward variance. Mr. Nettleton is a true first-time offender with no prior

 criminal activity. In the context of Mr. Nettleton’s entire life, his actions underlying this case are

 isolated mistakes.

        Under these circumstances, this Court can consider his lack of any criminal history as a

 mitigating factor at sentencing. United States v. Howe, 543 F.3d at 133 (affirming a downward

 variance from 18 – 24 months’ guideline range of imprisonment to probation, including home

 confinement, where the district court found that the defendant had made an “isolated mistake” in

 committing the offenses because, although the offenses were committed over a course of years,



                                                  13
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 14 of 25 PageID 3533




 the district court could have determined that the criminal activity was isolated in the context of the

 defendant’s entire life); see also United States v. Chase, 560 F.3d at 831 (“factors that have already

 been taken into account in calculating the advisory guideline range, such as a defendant's lack of

 criminal history, can nevertheless form the basis of a variance.”).

              IV.     THE NEED FOR JUST PUNISHMENT FOR THE OFFENSE

        18 U.S.C. § 3553(a)(2)(A) requires a court to consider the need for a sentence “to reflect

 the seriousness of the offense, to promote respect for the law, and to provide just punishment for

 the offense.” Here, a sentence of approximately three years, as per the bottom of the advisory

 guidelines, is substantially more than necessary to satisfy the requirements of § 3553(a).

        Mr. Nettleton has already experienced (and continues to experience) significant

 consequences due to his actions. Mr. Nettleton’s fall from grace has been stark. From a respected

 and beloved head of a crucial Navy base to convicted felon. He has lost his military career to which

 he had dedicated three decades of his life. He lost his marriage of 25 years. His children have had

 to watch their father’s name and reputation be dragged through the mud countless times on

 television and on the internet. He has been subject to very heavy and very negative publicity in

 numerous media outlets since the investigation in this case began.1 The Government even issued

 a public press release after Mr. Nettleton’s conviction. “Former Commander of Naval Station

 Guantanamo Bay Convicted of Obstructing Justice in Connection with Civilian Death,” Jan. 17,

 2020, available online at https://www.justice.gov/opa/pr/former-commander-naval-station-

 guantanamo-bay-convicted-obstructing-justice-connection.




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  This Court is already aware of the publicity this case has generated. Just a brief internet search
 will reveal that Mr. Nettleton’s case and investigation has been covered in The New York Times,
 The Washington Post, USA Today, CNN, and extensively in numerous Jacksonville media outlets.
                                                  14
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 15 of 25 PageID 3534




         In United States v. Prosperi, 686 F.3d 32, 48 (1st Cir. 2012) the First Circuit approved the

 lower court’s reasoning which recognized the inherent punishment imposed on a person who is

 put into the criminal justice system for the first time. The Prosperi court quoted from the lower

 court’s reasoning:

         I think it is very difficult at times, for those of us who are judges or prosecutors or
         lawyers, to put ourselves in the shoes of a person with no prior experience with the
         criminal justice system who finds himself or herself accused of a crime. I do not
         think, sometimes, we fully recognize the anguish and the penalty and the burden
         that persons face when called to account, as these men are, for the wrong that they
         committed.

 Id. at 48.

         The public embarrassment and immense shame that Mr. Nettleton, a man with a previously

 impeccable military record for nearly 30 years, has experienced is immeasurable. For the rest of

 his life, Mr. Nettleton will carry the stigma of being a convicted felon. One friend writes that Mr.

 Nettleton has paid the price for his mistakes “every day for the last five years with the loss of his

 career, his financial security, his marriage, and his reputation.” (Letter from Barbara Berry).

         But much worse than the toll this case has taken on Mr. Nettleton, the psychological and

 emotional harm that this case and investigation has brought on his family is immense.2 He and his

 family have been living in the shadow of this case for more than five years. “He has lost forever

 the companionship of an amazing woman. He has lost forever the feeling of normal family life.”

 (Letter from Jeff Stafford). His brother-in-law further explains:

         The John I know will punish himself with guilt and regret for the rest of his life. I
         do believe his withholding of the facts were to protect those he cared about …

         His children – my niece Julia and nephews Jacob and JR, need him more than you
         can imagine. This incident has taken their toll on them and if I thought their


 2
   Mr. Nettleton fully acknowledges that it was his actions which initially set this ball rolling.
 Nonetheless, we write here to point out that he and his family have already been dealing with
 certain consequences from his actions for more than five years now.
                                                   15
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 16 of 25 PageID 3535




        situation would be better off without him in the picture I wouldn’t have taken the
        time to write this letter. If I thought, he wasn’t deserving, I wouldn’t have taken the
        time to write this letter. They do need him, and he is deserving.

 Ibid. Mr. Nettleton’s other brother-in-law writes along the same lines about the impact this has had

 on the Nettleton family:

        I’ve seen first-hand the toll the last 5 years has taken on John, Leslee, Riley, Jacob
        and Julia and it’s changed them all forever. John will have to live with his actions
        for the rest of his life, which for a man like John, is more punishment than
        incarceration could ever be.

 (Letter from Nickolas Stafford).

        Courts have looked to collateral consequences such as those experienced by Mr. Nettleton

 as mitigating factors for purposes of sentencing. See, e.g., United States v. Baird, 580 F. Supp. 2d

 889 (D. Neb. 2008) (granting a below-guidelines sentence and noting that, due to the defendant’s

 criminal offenses, the defendant had suffered serious consequences for his criminal activity,

 including losing his military career as a captain in the Air Force and now had a felony conviction

 on his record); United States v. Samaras, 390 F. Supp. 2d 805 (E.D. Wis. 2005) (one factor

 supporting a below-guidelines sentence was that the “defendant lost a good public sector job,

 another factor not considered by the guidelines.”).

                V.     THE NEED FOR ADEQUATE GENERAL DETERRENCE

        18 U.S.C. § 3553(a)(2)(B) requires a sentencing court to consider the need for the sentence

 “to afford adequate deterrence to criminal conduct.” One thing that has become clear through

 research in recent years is that the severity of punishment does not have as much of a general

 deterrent effect on crime as does the certainty of being apprehended and punished. According to

 the U.S. Department of Justice’s National Institute of Justice3:



 3
  The National Institute of Justice “is the research, development and evaluation agency of the U.S.
 Department of Justice.” About NIJ, https://nij.ojp.gov/about-nij
                                                  16
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 17 of 25 PageID 3536




        •   “Research shows clearly that the chance of being caught is a vastly more effective

            deterrent than even draconian punishment.”

        •   “Sending an individual convicted of a crime to prison isn’t a very effective way to deter

            crime.”

        •   “The certainty of being caught is a vastly more powerful deterrent than the

            punishment.”

        •   Crime is deterred “by increasing the perception that criminals will be caught and

            punished.”

 National Institute of Justice, Five Things About Deterrence, pg. 1 (May 2016).

        Contrary to widespread belief, the most powerful deterrent of criminal activity is not

 severity of punishment, but instead certainty and promptness of punishment. Michael Tonry,

 Purposes and Functions of Sentencing, 34 CRIME & JUST. 1, 28 (2006), available online at

 https://scholarship.law.umn.edu/faculty_articles/495 (noting that “[i]maginable increases in

 severity of punishments do not yield significant (if any) marginal deterrent effects.”); Valerie

 Wright, Deterrence in Criminal Justice Evaluating Certainty vs. Severity of Punishment, pg. 1,

 THE        SENTENCING           PROJECT         (Nov.       2010),      available      online      at

 https://www.sentencingproject.org/publications/deterrence-in-criminal-justice-evaluating-

 certainty-vs-severity-of-punishment/ (“Research to date generally indicates that increases in the

 certainty of punishment, as opposed to the severity of punishment, are more likely to produce

 deterrent benefits.”). Thus, for purposes of general deterrence of similar offenders, it’s important

 that persons know that they will be punished for their unlawful actions. But imposing an

 imprisonment sentence in this particular case won’t itself necessarily serve any meaningful general

 deterrence purpose. Id. at pg. 4 (“punishment certainty is far more consistently found to deter crime



                                                  17
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 18 of 25 PageID 3537




 than punishment severity, and the extra-legal consequences of crime seem at least as great a

 deterrent as the legal consequences.”) (quoting Daniel Nagin and Greg Pogarsky. Integrating

 Celerity, Impulsivity, and Extralegal Sanction Threats into a Model of General Deterrence:

 Theory and Evidence, Criminology, 39(4), 2001).

         In United States v. Prosperi, 686 F.3d at 48, the court rejected the view that the sentencing

 goal of general deterrence can only be achieved by imposing a custodial sentence. In Prosperi, the

 defendants were convicted after a jury trial of conspiracy to commit mail fraud and make false

 statements on a highway project; conspiracy to defraud the United States by submitting false

 claims; eighty-three counts of making, and aiding and abetting the making of, a false statement on

 a highway project; and fifty counts of mail fraud, and aiding and abetting mail fraud. Id. at 37. The

 defendants’ guidelines range was 87 to 108 months imprisonment. Id. at 39. The district court

 imposed a sentence of six months home monitoring, three years of probation, and 1,000 hours of

 community service for both defendants. Id. at 41.

         The First Circuit affirmed the significant below-guidelines sentence imposed by the trial

 court. Id. at 48. Regarding general deterrence, the district court stated:

         There is one benefit, and only one, that I see in this case to incarceration, and that
         is the sanction of deterrence that an incarcerated [sic] sentence would pose for
         others. Beyond that, society's interest in incarceration as opposed to atonement does
         not weigh heavily. There is no risk of recidivism on the part of either of these
         defendants. Incarceration will incur a large cost to taxpayers …

 Ibid. The First Circuit held that “the district court fulfilled its obligation to consider the importance

 of general deterrence in fashioning its sentences.” Ibid. The First Circuit affirmed the decision of

 the district court to impose sentences of home confinement with community service, which

 “rejected the view that the interest in general deterrence could only be served by incarceration.”

 Ibid.



                                                    18
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 19 of 25 PageID 3538




                                    VI.   NO RISK OF RECIDIVISM

           A sentencing court must also consider the need for a sentence imposed to protect the public

 from future crimes committed by the defendant. 18 U.S.C. § 3553(a)(2)(C). Mr. Nettleton’s actions

 that gave rise to this case represent aberrations in an otherwise law-abiding life. As one friend

 notes:

           Based on the capacity in which I know Captain Nettleton, these convictions are
           surprising and entirely out of character. I have only known Captain Nettleton as a
           man of integrity with a great work ethic. He went out of his way to provide
           encouragement, support, and advice throughout the construction of my Eagle Scout
           project for the Boy Scouts of America. When I faced difficulties in my personal
           life, Captain Nettleton would take time out of his schedule to provide mentorship
           to me.

 (Letter from Benjamin Daniel Frasco).

           In March 2016, the United States Sentencing Commission released a study entitled

 Recidivism Among Federal Offenders: A Comprehensive Overview (available online at

 https://www.ussc.gov/research/research-reports/recidivism-among-federal-offenders-

 comprehensive-overview). According to the study, offenders such as Mr. Nettleton who have zero

 criminal history points are less likely to recidivate than any other offenders with higher criminal

 history levels (page 18). Offenders with zero criminal history points are far and away the least

 likely offenders to recidivate. Persons with zero points are even significantly less likely to

 recidivate than persons with one criminal history point. Tracey Kyckelhahn and Trishia Cooper,

 U.S. Sentencing Commission, The Past Predicts the Future: Criminal History and Recidivism of

 Federal       Offenders,    pgs.     6    –    9        (March   2017)    (available    online     at

 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

 publications/2017/20170309_Recidivism-CH.pdf).




                                                    19
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 20 of 25 PageID 3539




        In an earlier Sentencing Commission study, Measuring Recidivism: The Criminal History

 Computation of the Federal Sentencing Guidelines, May 2004 (available online at

 https://www.ussc.gov/research/research-publications/measuring-recidivism-criminal-history-

 computation-federal-sentencing-guidelines), the Commission found that persons over the age of

 50 are less likely to recidivate than any other age group (page 28), persons with a college degree

 (Mr. Nettleton obtained a master’s degree from the National War College) are less likely to

 recidivate than others without such a degree (page 29), that persons such as Mr. Nettleton who did

 not use illicit drugs within one year of their offense are less likely to recidivate than those who did

 (page 29), and persons who had stable employment for the year prior to their offense are less likely

 to recidivate than those who were unemployed (page 29).

        This factor, that Mr. Nettleton is not a risk to recidivate, which is not adequately accounted

 for in the guidelines, supports a downward variance in this case. In United States v. Clay, 483 F.3d

 739, 745 (11th Cir. 2007), the court affirmed a sentence substantially below the guidelines range

 (60 months imprisonment where the guidelines were 188-235 months) for a defendant who “poses

 a lesser risk to the community.” The court explained that “the Guidelines calculations and the

 sentencing factors of section 3553(a) require a judge to consider characteristics of the defendant

 and the offense that make it more or less likely that the defendant will reoffend.” Id. at 745.

        Mr. Nettleton’s “moral character is strong and I know he will not repeat any of his mistakes.

 He has always learned from his mistakes and agreed that learning from his mistakes has made him

 a better man.” (Letter from Barbara Workman).

                   VII.    COVID-19 IN THE BUREAU OF PRISONS SYSTEM

        The Bureau of Prisons keeps a running tally of Covid-19 infections in its prison system.

 The following information is taken directly from the Bureau of Prisons website (on September 24,



                                                   20
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 21 of 25 PageID 3540




 2020), indicating the substantial number of Covid-19 infections and deaths amongst federal

 inmates:

             The BOP has 126,659 federal inmates in BOP-managed institutions
             and 14,172 in community-based facilities. The BOP staff complement is
             approximately 36,000. There are 2,013 federal inmates and 687 BOP
             staff who have confirmed positive test results for COVID-19 nationwide.
             Currently, 12,443 inmates and 1,113 staff have recovered. There have
             been 123 federal inmate deaths and 2 BOP staff member deaths attributed to
             COVID-19 disease. Of the inmate deaths, 4 occurred while on home
             confinement.

 https://www.bop.gov/coronavirus/ (emphasis original).

         According to a recent article, if the BOP were a country, “it would have the most active

 infections per 100,000 population than any of the top ten most infected countries on earth, which,

 of course, includes the United States” and “it would have the most deaths from COVID-19 per

 100,000 population than any of the top ten most infected countries on earth.” Alan Ellis and Mark

 H. Allenbaugh, The State of Compassionate Release, For the Defense, Volume 5, Issue 3, pgs. 53-

 54.4

                                VIII. SENTENCING GUIDELINES

         The final Presentence Investigation Report finds a total offense level of 21, and therefore

 calculates an advisory guidelines range of 37 to 46 months imprisonment. ¶ 98. Mr. Nettleton

 objected to the 2-level enhancement for obstruction of justice which was based on his purported

 false testimony at trial.

         The Government takes the position that Mr. Nettleton made materially false statements at

 trial, in particular 1) when he testified that he never denied to Capt. Ross that Mr. Tur came to Mr.




 4
  Available online at:
 https://www.nxtbook.com/nxtbooks/PACDL/FORTHEDEFENSE_vol5_issue3_2020/index.php
 #/p/1
                                                  21
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 22 of 25 PageID 3541




 Nettleton’s home on the evening of January 9 (Trial Tr., Jan. 14, 2020, pg. 212), and 2) that Mr.

 Nettleton falsely testified that he was being truthful with Capt. Ross when Capt. Ross asked him a

 few days later if Mr. Tur had come to his house on January 9, and Mr. Nettleton replied “Well,

 yeah, he showed up there, but I didn't let him in." (Trial Tr., Jan. 8, pg. 269; Trial Tr., Jan. 14, pg.

 212-14). According to the Government, Mr. Nettleton “was saying that he was being truthful in

 responding to Capt. Ross’s question, which he understood to be about the manner in which Tur

 entered the house, not whether Tur entered the house.” Govt. Sentencing Memorandum, pg. 16

 (emphasis original).

        The Government contends that the jury’s verdicts on Counts 6 and 7 mean that it

 necessarily rejected Mr. Nettleton’s testimony; had the jury believed Mr. Nettleton’s testimony, it

 would have had to acquit him. At the upcoming sentencing hearing, the defense will contest the

 Government’s claim that the obstruction of justice enhancement under USSG § 3C1.1 is

 appropriate here. The defense intends to show why Mr. Nettleton’s testimony does not amount to

 obstruction of justice, and that Capt. Ross’ testimony does not prove that Mr. Nettleton’s testimony

 was perjurious.

        And the fact that Mr. Nettleton was convicted of Counts 6 and 7 should not immediately

 subject him to the § 3C1.1 enhancement. In United States v. Whitebread, 817 F. App'x 372, 374

 (9th Cir. 2020) (unpublished), the court explained:

        The district court erred by not making factual findings to support the two-level
        enhancement for obstruction of justice, relying instead on the jury's verdict to
        conclude that Whitebread perjured himself at trial. A district court may not rely on
        the jury's verdict alone to support the obstruction enhancement, United States
        v. Alvarado-Guizar, 361 F.3d 597, 603 (9th Cir. 2004); the district court must find
        that a defendant's testimony was false, material, and willful, see United States v.
        Dunnigan, 507 U.S. 87, 96–97, 113 S.Ct. 1111, 122 L.Ed.2d 445 (1993). Express
        findings on all three prongs are necessary for perjury to amount to obstruction of
        justice. United States v. Castro-Ponce, 770 F.3d 819, 822 (9th Cir. 2014).



                                                   22
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 23 of 25 PageID 3542




        Regardless of whether this Court finds that the obstruction of justice enhancement applies,

 this Court, of course, has considerable discretion in deciding whether the § 3553(a) factors justify

 a variance and the extent of one that is appropriate. United States. v. Shaw, 560 F.3d 1230, 1238

 (11th Cir. 2009). The sentencing guidelines should be the starting point for sentencing

 determinations, but the guidelines ultimately are merely advisory. Gall v. United States., 552 U.S.

 38, 50 (2007). The Court “may not presume that the Guideline range is reasonable,” but instead

 “must make an individualized assessment based on the facts presented.” Id. at 50. Nor is there “any

 particular weight that should be given to the guidelines range.” United States v. Irey, 612 F.3d

 1160, 1217 (11th Cir. 2010).

        In addition to the sentencing guidelines, this Court must also take into consideration all of

 the 18 U.S.C. § 3553 factors. United States. v. Martin, 455 F.3d 1227, 1236 (11th Cir. 2006). The

 Court must consider all the factors set forth in § 3553(a) as a whole, including whether a below-

 guidelines sentence is warranted. The Court is permitted to determine that the guidelines sentence

 should not apply “because the Guidelines sentence itself fails properly to reflect § 3553(a)

 considerations.” Rita v. United States, 551 U.S. at 351. This Court can also impose a sentence

 below the guidelines based on policy disagreements with the Sentencing Commission. Kimbrough

 v. United States, 552 U.S. 85 (2007).

        In United States v. Gupta, 904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012), aff'd, 747 F.3d 111

 (2d Cir. 2014), the court stated:

        Imposing a sentence on a fellow human being is a formidable responsibility. It
        requires a court to consider, with great care and sensitivity, a large complex of facts
        and factors. The notion that this complicated analysis, and moral responsibility, can
        be reduced to the mechanical adding-up of a small set of numbers artificially
        assigned to a few arbitrarily-selected variables wars with common sense. Whereas
        apples and oranges may have but a few salient qualities, human beings in their
        interactions with society are too complicated to be treated like commodities, and
        the attempt to do so can only lead to bizarre results.

                                                  23
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 24 of 25 PageID 3543




                                        IX.     CONCLUSION

        “It has been uniform and constant in the federal judicial tradition for the sentencing judge

 to consider every convicted person as an individual and every case as a unique study in the human

 failings that sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.”

 Koon v. United States, 518 U.S. 81, 113 (1996). We now ask for this Court to weigh Mr.

 Nettleton’s offenses with the lifetime of admirable behavior he has shown, and to consider his

 personal history and the many exemplary personal characteristics that he has demonstrated over

 and over again throughout his entire life.

        There is no doubt that Mr. Nettleton’s moral compass failed him. Mr. Nettleton’s former

 brother-in-law sums it up appropriately: “To be blunt, my analysis is John lived 99.9% of his life

 as a wonderful human being that made a disastrous .1% decision.” (Letter from Jeff Safford). But

 “his mistakes and failings do not define him or diminish his accomplishments.” (Letter from Colin

 Michael Caswell).

        One family friend writes of Mr. Nettleton that “Since his arrest he has continued to be a

 man of honorable character who had learned from his mistakes. He is an asset to society that we

 need.” (Letter from Angela Kiem). Another says that since his arrest, Mr. Nettleton “has done all

 he can to protect his children from experiencing any fall-out” and “has diligently worked to provide

 security and love to his children.” (Letter from Barbara Berry). And yet another friend writes: “It

 is this country, this nation, more than any other place, which allows imperfect people to pursue the

 freedoms of renewal, redemption, forgiveness and second chances. I also strongly believe these

 freedoms are the bedrock of whom we are as a country and what makes this country great.” (Letter

 from John Serralles).




                                                 24
Case 3:19-cr-00001-TJC-PDB Document 158 Filed 09/24/20 Page 25 of 25 PageID 3544




            Mr. Nettleton has shown himself to be a man of great integrity, morality, and kindness

 toward others. Based on all of the above, we ask that this Court impose a sentence substantially

 below the advisory guidelines range, as a below-guidelines sentence is the only type of sentence

 that would be “sufficient, but not greater than necessary,” to accomplish the goals of sentencing

 of 18 U.S.C. § 3553(a).



            Submitted on Sept. 24, 2020, by:

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                                      CERTIFICATE OF SERVICE

            I hereby certify that on Sept. 24, 2020, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court using CM/ECF, and thereby served on all interested

 parties.


                                               s/ Daniel Schwarz
                                               Daniel Schwarz




                                                  25
